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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address

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         Individual appearing without an attorney
         Attorney for: Western Community Energy, Debtor

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION DIVISION

    In re:                                                                      CASE NO.: 6:21-bk-12821-SY
                                                                                CHAPTER: 11
WESTERN COMMUNITY ENERGY,

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                MOTION FOR ORDER APPROVING
                                                                                SETTLEMENT BETWEEN DEBTOR AND
                                                                         SOUTHERN CALIFORNIA EDISON PURSUAN T
                                                                                 TO FRBP 9019
PLEASE TAKE NOTE that the order titled Order Granting Motion For Order Approving Settlement Between Debtor And
Southern California Edison Pursuant To Federal Rule Of Bankruptcy Procedure 9019

was lodged on (date)           02/11/2022          and is attached. This order relates to the motion which is docket number 243 .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                                                               Case 6:21-bk-12821-SY   Doc 247 Filed 02/11/22 Entered 02/11/22 11:21:52        Desc
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                                                                                1 WEILAND GOLDEN GOODRICH LLP
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                                                                                6 Counsel for Debtor
                                                                                  Western Community Energy
                                                                                7

                                                                                8                       UNITED STATES BANKRUPTCY COURT

                                                                                9             CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

                                                                               10 In re                                     Case No. 6:21-bk-12821-SY

                                                                               11 WESTERN COMMUNITY ENERGY,                 Chapter 9

                                                                               12                          Debtor.          ORDER GRANTING MOTION FOR ORDER
                                                                                                                            APPROVING SETTLEMENT BETWEEN
                                                                               13                                           DEBTOR AND SOUTHERN CALIFORNIA
                                                                                                                            EDISON PURSUANT TO FEDERAL RULE
Weiland Golden Goodrich LLP




                                                                               14                                           OF BANKRUPTCY PROCEDURE 9019
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                               Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                               15                                           Hearing Date, Time and Location:
                                                                                                                            Date:   February 10, 2022
                                                                               16                                           Time: 1:30 p.m.
                                                                                                                            Place: 3420 Twelfth Street
                                                                               17
                                                                                                                                    Courtroom 302
                                                                               18                                                   Riverside, CA 92501

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                                                                                1           Upon consideration of the Motion for Order Approving Settlement Between Debtor

                                                                                2 and Southern California Edison Pursuant to Federal Rule of Bankruptcy Procedure 9019

                                                                                3 [Dkt. 243] (“Motion”) filed by Western Community Energy (“Debtor”) which seeks court

                                                                                4 approval of the Agreement1 pursuant to Rule 9019 of the Federal Rules of Bankruptcy

                                                                                5 Procedure; and upon all other documentation filed in connection with the Motion and the

                                                                                6 Agreement; and upon the record in this case, all judicially noticeable facts and all

                                                                                7 evidence, arguments and representations made at or prior to the hearing on the Motion;

                                                                                8 and adequate notice of the Motion having been given as set forth in the Motion; and it

                                                                                9 appearing that no other or further notice is required; and the Court having overruled any

                                                                               10 objections to the Motion or such objections having been withdrawn; and sufficient cause

                                                                               11 appearing therefor;

                                                                               12           IT IS HEREBY ORDERED:

                                                                               13           1.      The Motion is granted;
Weiland Golden Goodrich LLP




                                                                               14           2.      The terms of the Agreement, a copy of which is attached to the Motion as
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                                                                               15 Exhibit 16, are approved and the Debtor is authorized to enter into the Agreement;

                                                                               16           3.      The Debtor is authorized to execute any documents or take any actions

                                                                               17 reasonably necessary to effectuate the terms of the Agreement;

                                                                               18           4.      The Debtor is authorized to use funds in the RCB Lockbox Account to

                                                                               19 perform the obligations in the Agreement;

                                                                               20           5.      The transfer of the funds in the RCB Lockbox Account and the Debtor’s

                                                                               21 accounts receivable (aka customer remittances) to SCE is free and clear of all liens,

                                                                               22 claims, encumbrances and interest;

                                                                               23           6.      Prior orders of the Court are modified as necessary to enable performance

                                                                               24 of the Agreement;

                                                                               25           7.      This Order is effective immediately upon entry;

                                                                               26

                                                                               27
                                                                                      1
                                                                                          Capitalized terms shall have their respective meanings ascribed to such terms in the Motion and the
                                                                               28 Agreement.
                                                                                                                                         2
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                                                                                1         8.     This Court retains exclusive jurisdiction with respect to all matters arising

                                                                                2 from or related to implementation of this Order; and

                                                                                3         9.     Consistent with the Agreement, neither this Order nor the Agreement shall

                                                                                4 affect the exercise of regulatory authority by California Public Utilities Commission in

                                                                                5 respect of SCE.

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Weiland Golden Goodrich LLP




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                 650 Town Center Drive, Suite 600
                                                  Costa Mesa, California 92626
A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
   02/11/2022       I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,02/11/2022       I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
   Honorable Scott H. Yun
   United States Bankruptcy Court
   Central District of California
   3420 Twelfth Street, Suite 345 / Courtroom 302
   Riverside, CA 92501-3819
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,
                                                                                                   02/11/2022      I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
  SERVED BY EMAIL:
  Joel Moss - joel.moss@shearman.com
  Kelly McDonald - Kelly.mcdonald@barclays.com


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/11/2022            Gloria Estrada                                                                          




Date                        Printed Name                                                      Signature




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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